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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY


 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-3993
 BLACKBAUD, INC., et al.       :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-3998
 WHITEPAGES, INC., et al.      :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4000
 HIYA, INC., et al.            :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4073
 COMMERCIAL REAL ESTATE        :
 EXCHANGE, INC., et al.        :
________________________________________________________________

ATLAS DATA PRIVACY             :           CIVIL ACTION
CORPORATION, et al.            :
                               :
        v.                     :
                               :           NO. 24-4077
CARCO GROUP INC., et al.       :
________________________________________________________________
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ATLAS DATA PRIVACY             :           CIVIL ACTION
CORPORATION, et al.            :
                               :
        v.                     :
                               :           NO. 24-4095
TWILIO INC., et al.            :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4104
 6SENSE INSIGHTS, INC.,        :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4105
 LIGHTBOX PARENT, L.P.,        :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4106
 SEARCH QUARRY, LLC, et al.    :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4107
 ACXIOM, LLC, et al.           :
________________________________________________________________




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 ATLAS DATA PRIVACY                 :              CIVIL ACTION
 CORPORATION, et al.                :
                                    :
         v.                         :
 ENFORMION, LLC, et al.             :              NO. 24-4110
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4111
 COSTAR GROUP, INC., et al.    :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4112
 ORACLE INTERNATIONAL          :
 CORPORATION, et al.           :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4113
 RED VIOLET, INC., et al.      :
________________________________________________________________

 ATLAS DATA PRIVACY                 :              CIVIL ACTION
 CORPORATION, et al.                :
                                    :
          v.                        :
                                    :              NO. 24-4114
 RE/MAX, LLC, et al.                :

________________________________________________________________




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 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4168
 EPSILON DATA MANAGEMENT,      :
 LLC, et al.                   :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4171
 PEOPLE DATA LABS, INC.,       :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4175
 CLARITAS, LLC, et al.         :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4181
 DATA AXLE, INC., et al.       :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4182
 REMINE INC., et al.           :
________________________________________________________________




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 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4184
 LUSHA SYSTEMS, INC, et al.    :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4217
 TELTECH SYSTEMS, INC.,        :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4227
 PEOPLECONNECT, INC., et al.   :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4230
 CORELOGIC, INC., et al.       :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4233
 BLACK KNIGHT TECHNOLOGIES,    :
 LLC, et al.                   :
________________________________________________________________




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 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4269
 THOMSON REUTERS CORPORATION, :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4271
 CHOREOGRAPH LLC, et al.       :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4288
 TRANSUNION, LLC., et al.      :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4298
 EQUIFAX INC., et al.          :
________________________________________________________________

ATLAS DATA PRIVACY              :           CIVIL ACTION
CORPORATION, et al.             :
                                :
        v.                      :
                                :            NO. 24-4299
SPOKEO, INC., et al.            :
________________________________________________________________




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ATLAS DATA PRIVACY             :            CIVIL ACTION
CORPORATION, et al.            :
                               :
         v.                    :
                               :             NO. 24-4354
 TELNYX LLC, et al.            :
________________________________________________________________

ATLAS DATA PRIVACY             :            CIVIL ACTION
CORPORATION, et al.            :
                               :
         v.                    :
                               :             NO. 24-4392
 MYHERITAGE, LTD., et al.      :
________________________________________________________________

ATLAS DATA PRIVACY              :           CIVIL ACTION
CORPORATION, et al.             :
                                :
        v.                      :
                                :           NO. 24-4442
WILAND, INC., et al.            :
________________________________________________________________

ATLAS DATA PRIVACY              :           CIVIL ACTION
CORPORATION, et al.             :
                                :
        v.                      :
                                :           NO. 24-4447
ATDATA, LLC, et al.             :
________________________________________________________________

ATLAS DATA PRIVACY              :           CIVIL ACTION
CORPORATION, et al.             :
                                :
        v.                      :
                                :           NO. 24-4571
PRECISELY HOLDINGS, LLC,        :
et al.                          :
________________________________________________________________




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 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
          v.                    :
                                :           NO. 24-4696
 OUTSIDE INTERACTIVE, INC.      :
________________________________________________________________

ATLAS DATA PRIVACY              :            CIVIL ACTION
CORPORATION, et al.             :
                                :
         v.                     :
                                :            NO. 24-4770
 VALASSIS DIGITAL CORP.,        :
 et al.                         :
_______________________________________________________________

ATLAS DATA PRIVACY              :            CIVIL ACTION
CORPORATION, et al.             :
                                :
         v.                     :
                                :            NO. 24-4850
 THE LIFETIME VALUE CO. LLC,    :
 et al.                         :
________________________________________________________________

ATLAS DATA PRIVACY              :           CIVIL ACTION
CORPORATION, et al.             :
                                :
         v.                     :
                                :            NO. 24-5334
 FIRST AMERICAN FINANCIAL       :
 CORPORATION, et al.            :
________________________________________________________________

ATLAS DATA PRIVACY                  :              CIVIL ACTION
CORPORATION, et al.                 :
                                    :
         v.                         :
                                    :              NO. 24-6160
LEXISNEXIS RISK DATA                :
MANAGEMENT, LLC, et al.             :




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                                  ORDER

          AND NOW, this 3rd day of June, 2024, after a status

conference with counsel and extensive review of Defendants’

requested discovery on the issue of subject matter jurisdiction,

it is hereby ORDERED that:

          (1)   Plaintiffs, on or before June 24, 2024, shall

produce the following non-privileged documents to Defendants in

the above actions:

                (a)    All versions of the Atlas Daniel’s Law

          Service Terms that were provided to the assignors from

          January 1, 2023 through the date of the last filed

          complaint and that include the provisions for all non-

          disclosure requests at issue in these actions and the

          assignment provision for all assignments at issue in

          the pending motions to remand.

                (b)    Agreements referenced in the above Atlas

          Daniel’s Law Service Terms that apply to the

          assignors, including:

                       (i)   All versions of the Atlas Privacy

                   Policy that were provided to assignors from

                   January 1, 2023 through the date of the last

                   filed complaint; and

                      (ii)   All versions of the Atlas Service Terms

                   that were provided to the assignors from

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                   January 1, 2023 through the date of the last

                   filed complaint.

                (c)    All versions of templates for the Assignment

          Confirmation that were provided to the assignors from

          January 1, 2023 through the date of the last filed

          complaint, including all assignments to Atlas at issue

          in the pending consolidated motion to remand.

                (d)    Contracts between Atlas and law enforcement

          unions/associations based in New Jersey as well as

          related communications that specifically mention

          subject matter jurisdiction or the Class Action

          Fairness Act.

                (e)    A list unique to each Defendant in the above

          actions of all Covered Persons who received a written

          Assignment Confirmation regarding assignment of their

          claims against that Defendant, including:

                       (i)   the name of the Covered Person,

                      (ii)   the type of occupation or relationship

                   covered by Daniel’s Law,

                   (iii)     the date of the Assignment

                   Confirmation, and

                      (iv)   the personal information included in

                   the non-disclosure requests that those Covered

                   Persons transmitted to that specific Defendant.

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           For Defendants with multiple websites, Plaintiffs will

           provide a list for each site.

                 (f)   Documents in Atlas’s possession concerning

           the citizenship of any such Defendant as related to

           subject matter jurisdiction (excluding basic contact

           information).

                 (g)   Documents in Atlas’s possession concerning

           the subject matter jurisdiction of the court.

           (2)   Plaintiffs, on or before July 31, 2024, shall

produce a witness under Rule 30(b)(6) of the Federal Rules of

Civil Procedure prepared to discuss the following topics:

                 (a)   Documents produced in response to this court

           order as long as the questions are relevant to subject

           matter jurisdiction.

                 (b)   Atlas’s interest in the Daniel’s Law rights

           being asserted in the actions prior to obtaining the

           assignments.

                 (c)   Atlas’s decision to incorporate in the State

           of Delaware.

                 (d)   The process for the assignments to Atlas by

           the Covered Persons.

                 (e)   The assignments Atlas purportedly obtained

           from the Assignors, including but not limited to, when

           the assignments were obtained, how the assignments

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           were obtained, the number of assignments obtained and

           communications about the assignments.

                 (f)   The services that Atlas provides to its

           users, including the Covered Persons.

                 (g)   Whether there was any consideration by Atlas

           or any discussion by Atlas with any Covered Persons

           regarding whether the assignments would in any way

           impact the jurisdiction of the courts in any of these

           actions.

                 (h)   Any participation or interest in the above-

           captioned actions by any purported Assignor.

           (3)   The parties shall promptly meet and confer to

determine a fair mechanism for deposing Atlas’s Rule 30(b)(6)

witness.   The deposition shall be limited to seven hours.

           (4)   The parties, on or before June 10, 2024, shall

meet and confer regarding Plaintiffs’ production of a privilege

log.   The parties shall report to the court on or before June

12, 2024 on the status of their discussions.

           (5)   Defendants, on or before August 30, 2024, shall

file a consolidated brief in opposition to Plaintiffs’ motions

to remand.   Such brief shall not exceed 55 pages.

           (6)   Any such Defendant that seeks to file an

individual brief in opposition to the Motion of Plaintiffs to

remand shall do so on or before September 6, 2024.           It shall not

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be repetitive of the consolidated brief.         The individual brief

shall not exceed 25 pages.

           (7)   Plaintiffs, on or before September 30, 2024,

shall file any reply brief.      The reply brief shall not exceed 35

pages.



                                          BY THE COURT:



                                          /s/ Harvey Bartle III
                                                                        J.




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